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                                         IN THE UNITED STATES BANKRUPTCY COURT
                                               NORTHERN DISTRICT OF TEXAS
                                                     ABILENE DIVISION

IN RE:
                                                                          CASE NO: 17-10036
MELVIN SOLOMON SR DUDLEY                                                  HEARING DATE: 1/31/2018
CYNTHIA LEE DUDLEY                                                        HEARING TIME: 11:00 AM
2141 Ivanhoe Lane
Abilene, TX 79605



                TRUSTEE'S RECOMMENDATION CONCERNING CLAIMS AND OBJECTION TO CLAIMS


NOW COMES Robert B. Wilson, Chapter 13 Trustee, and files this Proposed Trustee's Recommendation Concerning
Claims and Objection to Claims in accordance with Bankruptcy Rule 3007 and General Order 2017 -01 and would
respectively show unto the Court as follows:

                                                              I.
                                            OBJECTION -- NO PROOF OF CLAIM FILED

The following creditors were scheduled by the Debtors. No Proof of Claim has been filed by them or on their behalf as
required by Bankruptcy Rule 3002(a). The bar date for filing claims pursuant to Bankruptcy Rule 3002 (c) has passed.
Therefore the claims should be DISALLOWED.
TT Clm# Creditor Name                             Scheduled Amount TT Clm#      Creditor Name                        Scheduled Amount
    2    Affinity Distribution                        $37.51         3      Afni, Inc.                                  $91.55
    5    Ascension Law Group                           $0.00         6      Bacchus & Vaughn Neurology               $1,492.00
    7    BANK OF AMERICA NA                        $4,368.00         9      Buckley Madole, P.C.                         $0.00
   11    CAPITAL ONE AUTO FINANCE                 $15,565.38        12      Columbia House                             $150.00
   13    DailAmerica                                  $24.95        14      DONNY UNDERWOOD PLUMBING                   $100.00
   15    Dr Glen Hall                                $182.40        16      Equable Ascent Financial LLC             $2,208.34
   17    GEMB/Clockworks Royal                     $5,925.00        18      HILCO RECOVERY                           $5,005.00
   20    Mackie Wolf Zientz & Mann, P.C.               $0.00        21      McCreary, Veselka, Bragg & Allen, P.C.       $0.00
   22    Military Star                             $2,908.00        23      Military Star                            $5,552.00
   24    Military Star/ Exchange Credit Program    $2,847.00        26      Stream Energy                              $224.19
   27    Texas Midwest ER Physicians                 $205.00        32      GEMB/Clockworks Royal                    $2,953.00
   33    HILCO RECOVERY                            $1,983.00
                                                                   II.
                                                         SPECIFIC OBJECTIONS
        None

                                                   III.
                           TRUSTEE'S RECOMMENDATIONS CONCERNING ALLOWED CLAIMS
The Trustee hereby recommends the ALLOWANCE of the following claims for the amount and in the class as listed
below.



 TT Claim#     Creditor                  Collateral / Description         Claimed Amt     Value       Mo Pmt           %

SECURED CREDITORS
    28 US Bank Trust National       PRE-PETITION ARREARS THRU             $30,703.20    $113,499.00     $744.41            0.00%
       Associates                   FEB. 2017
                                    2141 INVANHOE LN
    30 US Bank Trust National       HOMESTEAD BEGIN APR FOR              $102,943.57    $113,499.00 see$946.27
                                                                                                        below              0.00%
       Associates                   MAY
                                    2141 IVANHOE
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In Re:  MELVIN SOLOMON SR DUDLEY & CYNTHIA LEE DUDLEY                                                                           Page 2 of 4
Case Number: 17-10036                                                                                                     Date: 11/28/2017
 TT Claim#     Creditor                 Collateral / Description      Claimed Amt     Value        Mo Pmt     %

SECURED CREDITORS
    31 US Bank Trust National      POST-PETITION ARREARS FOR          $1,892.54       $1,849.34      $34.35       0.00%
       Associates                  MAR & APR 2017
                                   2141 IVANHOE LN
    43 CENTRAL APPRAISAL           2141 IVANHOE - 2017                $2,056.36     $113,499.00       $0.00                Paid Direct
       DISTRICT OF TAYLOR          PROPERTY TAXES
       COUNTY
 TT Claim#     Creditor                 Collateral / Description      Claimed Amt

UNSECURED CREDITORS
    45 VERIZON                     SERVICES                             $180.75                       $0.00

                                                   ***Claims With Step Payments***
TT Claim#      Creditor                                            Payment            Start Date
                                                                   Amount

     30        US Bank Trust National Associates                    $946.27           04/01/2017


If the Trustee's recommendation concerning any claim differs from the amount indicated in a Creditor's Proof of Claim, the
recommendation is deemed an objection to such claim. Unless a timely response or objection is filed contesting the
Trustee's recommendcation, the objection will be sustained and such claim will be allowed only in the amount and in the
class indicated.

Any proposed changes by the Debtors that extends the term or lowers the interest rate as to any secured claim contained
in the confirmed Plan must be set out in a Debtors' Objection or Response to the Trustee's Recommendation Concerning
Claims and noticed to the affected Creditor in the absence of a Letter Agreement between the Debtors and the affected
Creditor.


                                                                IV.
                                                   TRUSTEE'S PLAN MODIFICATION
Pursuant to 11 U.S.C. Section 1329, and in accordance with General Order 2017 -01 Section 8, the Trustee requests the
following Modification of Debtors' Confirmed Plan, subject to feasiblity herein:
            No Modification Needed.
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In Re:  MELVIN SOLOMON SR DUDLEY & CYNTHIA LEE DUDLEY                                                             Page 3 of 4
Case Number: 17-10036                                                                                       Date: 11/28/2017
                         NOTICE OF HEARING AND PRE-HEARING CONFERENCE

IF AN OBJECTION IS FILED, A HEARING WILL BE HELD 1/31/2018 AT 11:00 AM CONCERNING THE TRUSTEE'S
RECOMMENDATION CONCERNING CLAIMS AND OBJECTION TO CLAIMS AT THE FOLLOWING LOCATION:

VIDEO: US COURTHOUSE ROOM 2201, 3RD AND PINE STREET, ABILENE, TX 79604

A PRE-HEARING CONFERENCE WITH THE TRUSTEE SHALL BE HELD AT US COURTHOUSE ROOM 2201, 3RD AND PINE
STREET, ABILENE, TX 79604 ON 1/31/2018 at 8:30 AM.

ALL PARTIES ARE REQUIRED TO ATTEND THE PREHEARING CONFERENCE. ANY OBJECTIONS TO THE PLEADINGS
NOT RESOLVED OR DEFAULTED AT THE PREHEARING CONFERENCE WILL BE HEARD BY THE COURT AT THE
HEARING DATE AND TIME ABOVE. TO BE CONSIDERED, ANY OBJECTION OR RESPONSE MUST BE MADE IN WRITING,
SERVED ON ALL AFFECTED CREDITORS AND FILED WITH THE COURT WITHIN THIRTY (30) DAYS FROM THE DATE OF
SERVICE.

PURSUANT TO GENERAL ORDER 2017-01 SECTION 8(C), UNLESS AN OBJECTION IS TIMELY FILED AS TO THE
TREATMENT OF ANY CLAIM OR MODIFICATION, THE CLAIM OR MODIFICATION WILLB E ALLOWED OR APPROVED AS
DESCRIBED IN THE TRCC AND SUCH TREATMENT WILL BE FINAL AND BINDING ON ALL PARTIES.



                                                 CERTIFICATE OF SERVICE

I hereby certify that a true and correct copy of the foregoing TRUSTEE'S RECOMMENDATION CONCERNING CLAIMS AND
OBJECTION TO CLAIMS was served on the following parties electronically or at the addresses listed below by U.S. First Class
mail.

Affinity Distribution, 5109 82nd Street, Suite 7-1140, Lubbock, TX 79424
Afni, Inc., Po Box 3097, Bloomington, IL 61702
Alltan Financial LP, PO Box 722929, Houston, TX 77272-2929
Ascension Law Group, P.O. Box 201347, Arlington, Texas 76006, Arlington 76006
Bacchus & Vaughn Neurology, 1150 N 18th St, Abilene, TX 79601
BANK OF AMERICA NA, ATTN: BANKRUPTCY NC4-105-03-14, PO BOX 15312, WILMINGTON, DE 19850-5312
Buckley Madole, P.C., 9441 LBJ Freeway, Ste. 350, Dallas, Texas 75243, Dallas 75243
CAPITAL ONE AUTO FINANCE, 3901 N DALLAS PKWY, PLANO, TX 75093
CAPITAL ONE AUTO FINANCE, A DIVISION OF CAPITAL ONE, NA, PO BOX 165028, IRVING, TX 75016
CENTRAL APPRAISAL DISTRICT OF TAYLOR COUNTY, PO BOX 1800, ABILENE, TX 79604-1800
CENTRAL APPRAISAL DISTRICT TAYLOR COUNTY, C/O MCCREARY VESELKA BRAGG & ALLEN, PO BOX 1269, ROUND ROCK, TX 78680
CMRE, 3075 E Imperial Hwy Ste, Brea, CA 92821
Columbia House, P.O. Box 1157, Terrehaute, IN 47811-1114
DailAmerica, 960 McArthur, Mahwah, NJ 07495
DONNY UNDERWOOD PLUMBING, 1441 WOODWARD STREET, ABILENE, TX 79605
Dr Glen Hall, 3374 South 27th, Abilene, TX 79605
Equable Ascent Financial LLC, 29125 Solon Road, Solon, OH 44139-3442
GEMB/Clockworks Royal, Privilege Program, El Paso, TX 79998
HILCO RECOVERY, ATTN: BANKRUPTCY, 1120 LAKE COOK ROAD SUITE B, BUFFALO GROVE, IL 60089
INTERNAL REVENUE SERVICE, PO BOX 7317, PHILADELPHIA, PA 19101-7317
INTERNAL REVENUE SERVICE, PO BOX 7346, PHILADELPHIA, PA 19101-7346
Internal Revenue Service, Special Procedures Function, 1100 Commerce St., MC 5027 DAL, Dallas, TX 75242
Mackie Wolf Zientz & Mann, P.C., 14180 N. Dallas Pkwy., Ste. 660, 14180 N. Dallas Pkwy. 66000
McCreary, Veselka, Bragg & Allen, P.C., PO Box 1269, Round Rock, TX 78680
MELVIN SOLOMON SR DUDLEY, CYNTHIA LEE DUDLEY, 2141 Ivanhoe Lane, Abilene, TX 79605
MICHELLE R GHIDOTTI-GONSALVES, 5120 E. LAPALMA AVE., STE. 206, ANAHEIM HILLS, CA 92807
Military Star, Attention: Bankruptcy, PO Box 6250, Madison, WI 53716
Military Star, Attn Bankruptcy, PO 6250, Madison, WI 53716
Military Star/ Exchange Credit Program, Attention: Bankruptcy, PO Box 6250, Madison, WI 53716
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Case Number: 17-10036                                                                                    Date: 11/28/2017
PHIL BLACK, THE BLACK AND WHITE LAW FIRM PC, 1290 S WILLIS SUITE 125, ABILENE, TX 79605
RS CLARK AND ASSOCIATE, 12990 PANDORA DR STE 150, DALLAS, TX 75238
Stream Energy, P.O. Box 650026, Dallas, Texas 75265, Dallas 75265
SYNCHRONY BANK, C/O PRA RECEIVABLES MANAGEMENT LLC, PO BOX 41021, NORFOLK, VA 23541
Texas Midwest ER Physicians, 1750 Pine Street, Abilene, TX 79601
UNITED STATES ATTORNEY, 801 CHERRY STREET UNIT 4, FT WORTH, TX 76102-6882
United States Trustee, 1100 Commerce Street, Room 976, Dallas, TX 75242
US ATTORNEY GENERAL, MAIN JUSTICE BLDG, ROOM 5111, 10TH ST & CONSTITUTION AVE, WASHINGTON, DC 20530
US Bank Trust National Associates, c/o SN Servicing Corporation, 323 5th Street, Eureka, CA 95501
VERIZON BY AMERICAN INFOSOURCE LP AS AGENT, 4515 N SANTA FE AVE, OKLAHOMA CITY, OK 73118
VERIZON, BY AMERICAN INFOSOURCE LP, PO BOX 248838, OKLAHOMA CITY, OK 73124-8838
WILLIAM T NEARY, UNITED STATES TRUSTEE, 1100 COMMERCE STREET RM 976, DALLAS, TX 75242


Date: 11/29/2017                                                         /s/ Robert B. Wilson
                                                                        Robert B. Wilson, Chapter 13 Trustee
